Case 1:13-cV-03127-PKC Document 344

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

___________________________________________________________ x
RICK HARRISON, et al.,
Plaintiffs,
-against-
THE REPUBLIC OF SUDAN,

Defendant.
___________________________________________________________ X
RICK I-IARRISON, et al.,

Petitioners,

-against-
Commerzbank AG,

Respondent.

____________________________________________________________ x

CASTEL, U.S.D.].

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On November 13, 2014, in response to the unopposed petition for a turnover order

against respondent Commerzbank AG, the Court entered an Order requiring petitioners to show,

inter M, why they do not have the burden of proving that certain entities at issue are agencies or

instrumentalities of Sudan without solely relying on the SDN List andjor an executive order. In

response, petitioners retained an expert to provide evidence that a specific entity is an agency or

instrumentality of Sudan. The expert has indicated that she needs additional time to conduct the

research, and petitioners have requested an extension through December 21, 2014 to submit

additional evidence. Petitioner’S request is GRANTED.

 

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SO ORDERED. /%

/ T’. l(evin Castel
United States District Judge

Dated: New York, NeW York
December 2, 2014

